
MORRIS, Judge.
*1019The petitioner, Progressive Select Insurance Company, seeks a second-tier writ of certiorari to quash the circuit court's order that denied Progressive's petition for writ of certiorari below. While involving different parties, the facts and procedural history of this case are nearly identical to the facts and procedural history of another second-tier certiorari proceeding that is traveling with this case, Progressive American Insurance Co. v. SHL Enterprises, LLC, a/a/o Shazam Auto Glass, LLC, 264 So.3d 1013, 2018 WL 5624384. We quashed the order in SHL Enterprises, LLC, a/a/o Shazam Auto Glass, LLC, wherein the circuit court had adopted the reasoning of the circuit court's order that was entered in this case. Thus, for the reasons we explained in SHL Enterprises, LLC, a/a/o Shazam Auto Glass, LLC, we quash the circuit court's order here.
Petition granted; order quashed.
SILBERMAN and VILLANTI, JJ., Concur.
